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                          IN THE UNITED STATES DISTRICT COUR1J1STR-!C'f(}f~5r~~',~qi.if<!
                             FOR THE DISTRICT OF MARYLAND                     I:,,,, LAND                    i




                                     (NORTHERN DIVISION)                   ;   ZOIl JUt II                          P /2: 4L1
ROBERT W. PERRIN,                                                                      CLFR'.('S' njICF" r-
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2108 W. Coolidge Street
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Phoenix, Arizona 95015                                                           ~--_.-            ...._-_._. __. DFPU'T        'vi
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         Claimant,
v.

PHILIP 1. SCHROEDER, MD, and
Western Maryland Medical Arts Center                    Civil Case No.:
12502 Willowbrook Road, Suite 580
Cumberland, MD 21502
Allegany County, Maryland

WESTERN MARYLAND HEALTH
SYSTEM CORPORATION,
12400 Willowbrook Road
Cumberland, MD 21502
Allegany County, Maryland

         Defendants


                        COMPLAINT AND REQUEST FOR JURY TRIAL

        Now comes plaintiff, Robert W. Perrin, by and through his undersigned attorneys,

Thomas O'Toole and Baroody & O'Toole, and sues Philip J. Schroeder, MD and Western

Maryland Health System Corporation, and for reasons says:

                              PARTIES, JURISDICTION, AND VENUE

1    Mr. Perrin is a resident ofthe State of Arizona.

2    Upon information and belief, Philip J. Schroeder, M.D. (hereinafter also referred to as "Dr.

     Schroeder") is a resident of the State of Maryland and resides and works in Allegany County,

     Maryland.




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3   Upon information and belief, Western Maryland Health System Corporation is a Maryland

    corporation with its principal place of business in Allegany County, Maryland (hereinafter

    also referred to as "WMHSC").

4   Federal diversity exists pursuant to 28 U.S.C. 91332 because Mr. Perrin is a resident of the

    State of Arizona and Defendants are residents of the State of Maryland and the matter in

    controversy exceeds $75,000.

5   Venue is proper in pursuant to 28 U.S.C. 91391 because a substantial part of the events or

    omissions on which the claim is based occurred in the Southern District of Maryland.

6   Mr. Perrin filed his statement of claim with the Health Care Alternative Dispute Resolution

    Office.

7   After submitting a certificate of qualified expert along with a report, Mr. Perrin elected to

    waive arbitration. A copy of the Order of Transfer is attached hereto.


                                            COUNT I
                                           (Negligence)

8   At all times relevant hereto, Dr. Schroeder held himself out to the public and practiced as a

    medical doctor.

9   At all times relevant hereto, Dr. Schroeder was Mr. Perrin's treating and attending surgical

    physician.

10 WMHSC provides health care services to the public.

11 Upon information and belief, Dr. Schroeder was an employee and/or agent of WMHSC,

    acting within the scope of his employment and/or agency while treating Mr. Perrin for and/or

    on behalf ofWMHSC.




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12 On February 18,2008, Mr. Perrin presented to WMHSC for a laparoscopic surgical repair of

   a left inguinal hernia, which was found during a physical exam.

13 Dr. Schroeder performed the surgery.

14 During the surgery, Dr. Schroeder severed Mr. Perrin's veins.

15 Mr. Perrin suffered significant bleeding, which necessitated an opening through a midline

   mClslOn.


16 Postoperatively, Mr. Perrin had an angiogram and veno gram performed, which demonstrated

   patent iliac arteries with a left external iliac vein occlusion with some clot in the femoral

   vem.

17 Mr. Perrin was transferred from WMHSC to the University of Maryland Medical System in

   Baltimore, Maryland (hereinafter, "UMMS").

18 On February 19,2009, Mr. Perrin was admitted to UMMS, where he was treated for the

   injuries resulting from the surgery. Mr. Perrin was discharged on February 27, 2008.

19 Mr. Perrin incorporates by reference each of the foregoing paragraphs.

20 Defendants owed a duty of care to Mr. Perrin.

21 Defendants breached the standard of care when Dr. Schroeder failed to properly identify Mr.

   Perrin's vascular anatomy.

22 Defendants breached the standard of care when Dr. Schroeder injured Mr. Perrin's vascular

   anatomy.

23 Defendants breached the standard of care when Dr. Schroeder failed to properly treat the

   injury to Mr. Perrin's vascular anatomy, including, but not limited to, improperly suturing

   Mr. Perrin's injury.




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24 Defendants breached the standard of care when Dr. Schroeder failed to consult a vascular

    surgeon.

25 As a direct and proximate result of Defendants' negligence, Mr. Perrin suffered physical

    injury, pain, permanent physical damage, emotional trauma, and lost wages.

        WHEREFORE, Mr. Perrin sues Defendants, jointly and severally, and seeks and

compensatory damages in the sum of Five Hundred Thousand Dollars ($750,000) plus an award

of all costs and any other relief the court deems appropriate.

Dated: July 11,2011                                   Respectfully submitted,



                                                     o 7. -----S                     ------
                                                      Thomas O'Toole, Trial Bar 10227
                                                      Baroody & O'Toole
                                                      201 North Charles Street, Suite 2102
                                                      Baltimore, Maryland 21201
                                                      (410) 539-8413 (telephone)
                                                      totoolelaw@aol.com (email)
                                                      (410) 539-8411 (facsimile)
                                                      Attorneys for Plaintiff


                                  REQUEST FOR JURY TRIAL

        Plaintiff, Robert W. Perrin, by and through his undersigned counsel, requests a jury trial

in this matter.




                                                      Thomas O'Toole, Trial Bar 10227




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